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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA

  Robert DuBoise,                           No. 8:21-CV-02328-SDM-CPT

        Plaintiff,

  v.

  City of Tampa, Richard R. Souviron,
  Det. Phillip Saladino, Det. K.E.
  Burke, the Estate of Det. John
  Counsman, and Sgt. R.H. Price,

        Defendants.


            PARTIES’ STATUS REPORT REGARDING SETTLEMENT

       Now Comes the Parties, by and through their respective attorneys, moves as

 follows:

       1.     On February 15, 2024, the Council for the City of Tampa approved

 the settlement in this matter.

       2.     All of the parties have executed the settlement agreement.

       WHEREFORE, Pursuant to the settlement agreement, Plaintiff will move to

 dismiss the lawsuit within ten (10) days of the first payment.


                                               Respectfully submitted,
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  /s/ David E. Harvey                      /s/ Heather Lewis Donnell
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  Counsel for Defendant City of Tampa




                          CERTIFICATE OF SERVICE


        I, Heather Lewis Donnell, an attorney, hereby certify that on March 6, 2024
 a true and correct copy of the foregoing was filed with the Court’s CM/ECF
 system and thereby served all counsel of record electronically.



                                       Respectfully Submitted,

                                       /s/ Heather Lewis Donnell
                                       One of Plaintiff’s Attorneys
